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                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

TERRENCE HOWARD O’NEAL        §
                              §
                              §
          Plaintiff,          §
                              §
                              §
                              §
v.                            §                          Civil Action No.: _____________
                              §
ULTRAVISION TECHNOLOGIES,
                              §
LLC, and ACTIVE INTERNATIONAL
                              §
                              §
          Defendants          §                        JURY TRIAL DEMANDED
                              §



                        CERTIFICATE OF INTERESTED PERSONS


TO THE HONORABLE JUDGE OF SAID COURT:

        Pursuant to Local Rule 3.1, Plaintiff designates the following individuals or corporations

as having a financial interest in this lawsuit:

Plaintiff:                              Terrence Howard O’Neal
                                        c/o Nicholas A. O’Kelly
                                        3109 Carlisle Street
                                        Dallas, Texas 75024

Defendant:                              UltraVision Technologies, LLC
                                        c/o Registered Agent
                                        Corporation Service Company dba
                                        CSC – Lawyers Incorporating Service Company
                                        E. 7th Street, Suite 620
                                        Austin, Texas 78701-3218




Certificate of Interested Persons                                                           Page 1
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Defendant:                             Active International
                                       One Blue Hill Plaza
                                       Pearl River, NY, 10965

Plaintiff’s Attorney:                  Nicholas A. O’Kelly
                                       KILGORE & KILGORE, PLLC
                                       3109 Carlisle Street
                                       Dallas, Texas 75204
                                       nao@kilgorelaw.com
                                       214-379-0827

        Plaintiff reserves the right to amend this list as facts unfold during the discovery process.


DATED: May 20, 2020.                           Respectfully submitted,

                                               KILGORE & KILGORE, PLLC

                                               By: /s/ Nicholas A. O’Kelly
                                               NICHOLAS A. O’KELLY
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                                               TERRENCE H. O’NEAL




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